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     CODE OF BUSINESS
     CONDUCT AND ETHICS



                                                   OurCommon
                                                   Commitments




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      Smith/ield
                    Letter from Our Chief Executive Officer

                    To All ofOur Employees:
                    We ere living in a rime when society is steadily raising the bar for businesses.
                    Companies are expected to act widi greater integrity and to coinp^ with an
                    ever growing bo<fy ofbusiness and legal rctjuirements. Some companies arc
                    struggling to meet this dialienge. At Smichheld we are fortunate cohave a
                    strong tradition of acting with integrity and ^irness and ofobeying the law.
                    The Sinichfieid Code of Business Conduct and Ethics sets fordi the basic
                    ethical andlegolstandardsby which we will conduct ourbusiness.Throu^iouc
                    this Code,we use the term "our common commitment" to describe our shared
                    responsibility to live up to high ethical and legal standards.If you do not sliare
                    this commitment, then Smichfield is notfor you.
                    We have built this Code around the core values chat guide all aspects of
                    Stnithfield's business:

                    • Tb produce safe, high-qualiq', nutricious food
                    • Tobeoneinpit^erofchoice
                    •   To advance animal care

                    • Tb protect die environmcnc
                    • Tb have a positive impact on our communities
                    In teacUng the Code,you will see on neatly every pa^ the words SPEAK VPI
                    Wc are doing everything wt can to make speaking up easy to do and liwe
                    prcvtded various ways for anyone ro raise a question or a concern. You can even
                    make an anonymous report using the Smirhheld Erliics Horitne. I promise tliat
                    you will Qoc be retaliated against for raising a question or ivporciTiga coocem.
                    I am confident chat you will join me in keepingSmichficld a place where we
                    con all be proud to work.




                    Ketme^M.Sullivan
                    Presideiitand ChiefExecutitt Offcer




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    INTRODUCTION



                                             Our Common Commitment:Do the RightThing
                                             At Smithfield, we are committed to doing tiie right thing in all
                                             aspects ofout business. Doing the right thing means acting
                                             in the best intere.scs of those who are ct>unting on us to do
                                             our jobs: our customers,our cc-workeis,our investors and
                                             the public. It means never doing anything that we would be
                                              ashamed to tell our families about or to see published in out
                                              hometown newspaper.It means acting with integrity toward
                                              each other and those outside Smithfield.
                                              The commimieuc to do the right thing applies to each of us,
                                              regardless of position.The actions ofany employee - wheclier
                                              good or bad - can reflect on all of us.Tliat is why we call this
                                              our common commitment,because we are responsible to eacli
                                              Other to do the right thing. It reflects a shared dedication to the
                                              highest ethical standards.
     Q: IthinkaM-mirkerhtts
        violatedthe Code and                  The Smithfield Code ofBusiness Conduct and Ethics embodies
            maybe even the law. I
            want to do the ri^tthiag
                                              that commitment, k describes situations iu which we taay be
            a»J':PFAKUP!.butlam
                                              called on to do the right thing. The principles and examples
            worriedthat Imaylose my           contained in the Code reflect laws and regulations that apply to
           jobifldo. Whatshould               our business. It is critical char we obey both the letter and tire
            I do?                             spirit of the law and that we perform our duties with the utmost
                                              attention to ethical business practices.
     A: SPCAK OP/Smichfield
            policy prohibits                  All employees are asked to sign a statement that you have read
            r«taliacion against                die Smiclifield Code ofBusiness Conduct and Ethics, and that
            anyone for raising a               you will act in full compliance with the Code. Our obligation to
            concern or making any             do the r^C thing, however,does not end with reading the Code.
            good faith report of               We are expected to live it.
            misconduct.
                                               Now more than ever, people pay attention to our actions:
     Qi Howeanthecompany                       what we do and say.Tliey want to see ifwe ate living up to our
            protectmefhm                       commicmenLs. We want to be known as people who can be
             retaliation?                      counted on to do the right thing, ifyou have a question as to
     Al Smithfield will                        what it means to do the right thing in any circumstance or if
             investigate dl allegations        you chink that any of us may be failing in our duty to live up to
             ofretaliation and will            the Code,you have a responsibility raSP&AKUPI as. desci'ibed
             discipline ^e individuals         below,Smithfield is committed to a working environment in
             involved — up to and              which employees feel comfortable and encouraged to
             including termination of                        ,ask for help and raise concerns.
             employment.

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       Management Standards of Behavior                               address your concerns. All repormd
      Those who are parcofourcorporace ieadersliip,                   violations of this Code receiwtd dtrou^i
                                                                      the hoduie are investigated
      who are managers or who supervise odier
      employees have a special responsibilicy to live          Any report you make ofsuspected wrongdoing
      up CO rhis Code. You ace often the first point           is confidential, andSmichfidd will noc tolerate
      of contact when an employee comes forward to             retaliation against anyone for raising concerns,
      raise concerns.It is critical chat you be rea^ to        making good faith reports ofmisconduct
      listen carefully and respond appropriately.              or providing information as part ofan
                                                               investigarion.
      Those you supervise and lead are watdiingyour
      behavior. Your wantple as an ediical leader will
      do more to strengthen our culture of ediics and
      compliance than anything else we can do. You
      also have the responsibilicy ofciosety monitoring
      compliance with the Code of chose you supervise                                     SPEAK UP!
      and ensuring rfiar third parties widi whom our                Do the
      employees urceracc are aware of aivi comply wicli
      our policies and proceduces.                                  RightThing
                                                                    Ifyou see jiiyihiiig that inn .nisperris
      SPEAK UP!                                                     improper or iinoiliii-.il. j-ou hai* a duty
                                                                    to SPEAK UP! Ily doing so. voii can
      SPEAK UPI is die term we use to describe the                  provide informiuion needed to remedy a
      riglic and responsibility of every employee co Cell           porenci.illy hannful siciurion. Ifyou arc
      management about ar^ beltovior dut does nor                   not sure whether a sioudon requires you
      meet the standards outlined in this Code or co                to SPEAK UP!, a.sk vf>0 rself tjiefoUowing
      ask a question about those standards.                         c|uestioiis:
      The first step in asking quescicms or reporting               1. Is the action consistent with
      most coiKems is co speak with your supervisor                    The Smiclifield Code ofBusiness
      or with your local human resources manager.If                       Conduct uid Ethics?
      you do noc receive asatisfaccory response or if
      you fitel uncomfortable raising an issue in this              2.    Is the action legal?
      wsf, you should do the fbllowing                              3.    Wouldl be comfbrrableifdicacdon
                                                                          were made public?
      1. Talk CO a member of the Smichfield Lav
           Department or one of the other compliance                4.    Wouidl want it done to me?
           resources referred co in this Code.                      5.    Would die action be perceived
      2.   Call the Smichfield Ethics Hotline at                          positively by my family, co-woikets,
           1-877-237-5270. Calls to the hodine                            and Smidifield shareholders?
           are confidential and can even be mack                    If die answer lo any of these questions
           anonymously,aiihougli the more                           is "no,"you sliould SPEAK UPI and ask
           infotmationyou provide co die operator                   for help!
           ii4to answers the c.-tU, the better we can


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    If you are being hai-assed or see another employee (or anyone else in our
    facilities) being harassed,SPEAK UPI Tell a supervisor, your local human
    resources manager or take other action outlined in the SPEAK UP!
    section of this Code,including calling the Smithfield Ethics Hotline.

    Ifyou have a drug or alcohol problem,help is           resources outlined in the SPEAK UPl section
    available to youj please refer to your benehcs         of this Code,including the Smitlifield Ethics
    paduge or contact your local human resources           Hotline.
    manager for assistance and confidential referral.
                                                           Harassment
    Ifyou have questions regarding this policy or
    chink another employee may be violating che            Our employees have che right co work free from
    srandards described above,SPEAK UPI                    harassment. Smitlifield regards harassment
                                                           as any behavior that demeans,intimidates or
    Diversity and Equal Employmant                         offends an individual To maintain a workplace
    Smithfield is committed co attracting, training        free ofharassment, we must avoid rhe following:
    and maintaining a diverse workforce chat reflects
                                                           •   Unwelcomeconduct-whecherverbai,
    our communities. Wc strive co implement a
                                                               physical or visual, and whether cnminitced
    company culcuce that is inclusive, positive
                                                               m person or by some other means (e.g.,
    and perfonnajice-oriented. Having a diverse
                                                               email) chat is based on an employee's
    workforce allows us co benefit from a variety
                                                               race, color, gender,sexual preference,
    ofperspectives and strengthens our global
                                                               national origin, religion, age, physic^ ot
    competitiveness.
                                                               mental disa^cy,genetic i^rmadon,
    Smithfield is an equal oppominity employer. We             veteran status or other legally protected
    do not discriminate against any employee or any            characteristic
    applicant because ofrace, color, religion,ethnic       •   Racial,ethnic, religious or sexual sluR or
    or nuional origin,gender,sexual orientation,               jokes
    age,disability, veteran scanis, or any other status
    protected by federal law.In addition,compliance        •   Displaying dero^rory or offensive posters,
    with applicable emp]cymenckws,suchas work                  car^,calendars, cartoons, graffiti or
    authorization laws, is importanr to maintaining            drawings
    the stability and integrity of our workforce.          •   8ull)4ng, abusive language, physical
                                                               aggression,intimidacing or violent behavior
    Ifyou feel chat you have been discriminated                or disparaging comments
    against, believe char someone else has been a
    victim ofdiscrimination or have a question             •   Unnecessary or offensive touching or
    about Smichfield's and-discriminacion policy,              iiitentionaily blocking someone's movement
    .SPEAK UP!Talk to your immediate supervisor,           • Sexual advances or requests for sexual fevors
    your local human resources manager or orhers
                                                           •   Any oilier actions chat unreasonably disrupt
    in management. Ifyou do not feel comfortable
                                                               or interfere with an employee's work
    calking co a supervisor or mani^er, use che
                                                               performance

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       Utis applies to all Siniihfieid
       eniploj'ees luid anyone else who does
       biisinea wiEh'Smithfield It applies
       borii in the workplace and in worfc-
       relaced serrings and aenviries outside
       the workplace.
       Ifyou arc being harassed or see
       another employee (or atyone else in
       our fiacUiries) being harassed,SPEAK UP!Tell a supervisor,
       your local human resources manager or take other action            Q: My supervisoriseoHstantly
       oiidined in the SPEAK VPI section of this Code,including                 yelling at"s and todayeven
                                                                                threatenedsomeone en our
       calling the SmichEeld Ethics Hodisi''
                                                                                teem. Idon'tthinkanyofus
       Human Rights                                                             believe that oursupervisor would
                                                                                actually carry out the threat,
       We will not tolerate human rights abuses,including die use               butitmakes me uneem^rtable.
       of diild,forced or compulsoiy labor in our operarions or                  Whatshould Ido?
       tlioseofour contractors. Ifyou are aware of any such abuses,
                                                                           Aj Smidifield'swork
                                                                                enviionmeni muse be free
                                                                                from harassment, including
                                                                                 intimidating language. If
                                                                                 threatening language is
                                                                                 used in yourworkpiace,
                                                                                 SPEAKUP! using one of the
                                SPEAKUP!                                         resources listed In this Code.
           Do the
                                                                           Q: Aco-workerhasrepeatedly
           RightThing                                                            asked mefora date, lamnot
                                                                                 comfortable with thk.
           •    Welcome and respeci differences regarding race,
                                                                                 shouldldo?
                gender, religion, background,ere.
           • Be respectful of other employees in your actions.             A: Talk to your local human
                                                                                 resources manager or use the
           • Do your part to keep our faciliries free from                       other resources described m
                substance abuse.                                                 iliisCode.




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